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1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    MONICA FERNANDEZ (CSBN 168216)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102-3495
        Telephone: (415) 436-7065
7       FAX: (415) 436-7234
8    Attorneys for Plaintiff
9
10                                 UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )      No. CR 05-00465 JSW
                                                  )
15           Plaintiff,                           )      NOTICE OF DISMISSAL OF
                                                  )      DEFENDANT; AND [PROPOSED]
16      v.                                        )      ORDER
                                                  )
17   XIANG ZHUGE,                                 )
                                                  )
18           Defendant.                           )
                                                  )
19                                                )
20           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the
21   United States Attorney for the Northern District of California dismisses Defendant Xiang Zhuge
22   from Count One of the above indictment without prejudice.
23   DATED:                                              Respectfully submitted,
24                                                       KEVIN V. RYAN
                                                         United States Attorney
25
26                                                       /s/ Mark Krotoski for
                                                         EUMI L. CHOI
27                                                       Chief, Criminal Division
28
     No. CR 05-00465 JSW
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1    Leave of Court is granted to the government to dismiss the indictment without prejudice.
2    IT IS SO ORDERED.
3
4    Date: February ___,
                    8 2006                               _________________________________
                                                         HON. JEFFREY S. WHITE
5                                                        United States District Judge
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     AND [PROPOSED] ORDER                           2
